           Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 1 of 7



                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                        No. 2:12-md-02323-AB
INJURY LITIGATION                                 MDL No. 2323


Kevin Turner and Shawn Wooden,                    Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

             Plaintiffs,

                 v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

             Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


            FANECA OBJECTORS’ REPLY IN FURTHER SUPPORT OF THEIR
           PETITION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES

         Like a lost soldier re-emerging from a cave long after the war has ended, attorney Craig

Mitnick has re-emerged in this litigation. Early on, Mitnick signed a large number of former

players to contingent-fee deals that will pay Mitnick handsomely when players begin receiving

settlement awards.1 As the docket reveals, and as Mitnick admits,2 Mitnick did little substantive

work – allowing Co-Lead Class Counsel to do the heavy lifting of negotiating with the NFL and




1
 Mitnick’s website says that he represents over 1,400 retired NFL players and that he charges a
15% contingency fee. See Mitnick Law Office, LLC, NFL Concussion Claim Resolution Center,
https://playerinjury.com/ (accessed May 9, 2017).
2
    See Dkt. 7151-23 ¶ 2.
           Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 2 of 7



litigating the fairness of the settlement. But the prospect of a double-dip has lured Mitnick out

into the light.

          In addition to the fortune Mitnick will be paid for processing the paperwork of the

players he signed up, he seeks a substantial payout – likely more than $2 million – from the

Attorneys’ Fees Qualified Settlement Fund.3 He apparently now considers the Faneca Objectors’

petition for a fee award from the same large, but limited, fund a threat to his application. So,

incredibly, five months after the Faneca Objectors filed their fee petition, Mitnick has filed a

fantastical response. Mitnick’s lateness alone justifies disregard of his arguments.4 More fun-

damentally, the extensive misstatements of fact and law in Mitnick’s belated memorandum

reveal that he is unaware of what transpired in the fighting, as well as in the peace, while he was

absent.

                                            ARGUMENT

I.        Mitnick’s Misstatements of Fact

          Mitnick claims the Faneca Objectors’ appeal has caused class members to receive

“substantially less compensation” than if the appeal were not taken because the age offset causes

the “value of a class member’s claim [to] substantially decrease[ ] each year that the

implementation of the settlement claims process is delayed.” In fact, the age offset is tied to the




3
  The Faneca Objectors take no position on Mitnick’s request for attorneys’ fees. Mitnick
submitted a declaration in support of Co-Lead Class Counsel’s petition claiming a lodestar of
nearly $900,000. See Dkt. 7151-23 ¶ 5. If Mitnick receives the same 2.6 lodestar multiplier
sought by Co-Lead Class Counsel, his fee award could exceed $2.3 million.
4
    See Dkt. 7261 (Order setting April 10, 2017 deadline to respond to objector fee petitions).

                                                   2
           Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 3 of 7



class member’s “age at the time of the Qualifying Diagnosis,” not the age at the time a claim is

made.5

         Mitnick claims the Faneca Objectors “should be responsible for an additional eight

month delay caused by the filing of a writ of certiorari by objectors with the United States

Supreme Court.” In fact, the Faneca Objectors did not file for a writ of certiorari. Their fee

petition clearly explains they studied the issue and determined – correctly – that the Court would

not grant review.6

         Mitnick claims the Faneca Objectors’ counsel, MoloLamken LLP, spent “numerous

hours . . . performing discovery.” In fact, no discovery was performed and the Faneca Objectors’

request for discovery was denied.7

         Mitnick claims the “Faneca Objectors took their time in filing and briefing their meritless

appeals.”     In fact, the Faneca Objectors supported Co-Lead Class Counsel’s request for

expedited briefing on the merits appeal in the Third Circuit and never requested an extension of

the briefing schedule.8 As for the Faneca Objectors’ Rule 23(f ) petition – that proceeded on an

expedited basis and caused no delay in the fairness hearing, which was scheduled prior to the

filing of the Rule 23(f ) petition.9




5
  Compare Dkt. 7621 at 6, 12-13, with Dkt. 6481-1 § 6.7(b) (age offset determined by “age at the
time of the Qualifying Diagnosis”); id. § 6.3(c)-(d) (providing for Qualifying Diagnosis prior to
Effective Date).
6
    Compare Dkt. 7621 at 9, with Dkt. 7070-2 ¶ 44 (Molo Declaration).
7
 Compare Dkt. 7621 at 14, with Dkt. 6245 (denying Faneca Objectors’ Motion for Limited
Discovery).
8
 Compare Dkt. 7621 at 13, with Faneca Objectors-Appellants’ Notification of Consent to Class
Plaintiffs-Appellees’ Motion To Consolidate and To Expedite Appeals, In re NFL Players’
Concussion Injury Litig., 821 F.3d 410 (3d Cir. 2016) (No. 15-2304), Doc. No. 003111974350.
9
    See Dkt. 6084 (July 7, 2014 Order setting fairness hearing for November 19, 2014).

                                                  3
           Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 4 of 7



          Mitnick claims the Faneca Objectors “fail to demonstrate how their conduct has

improved the settlement.” In fact, the Faneca Objectors set forth in detail how their extensive

efforts resulted in credit being given for play in NFL Europe, a waiver of the appeal fee in cases

of hardship, the uncapping of the BAP for examinations, and enhancement of the benefit for

CTE. The value of the enhanced benefits brought about through their advocacy is explained in

detail in their fee petition and corroborated by expert analysis.10

II.       Mitnick’s Misstatements of Law

          Mitnick claims that the law does not allow objectors to be paid from the Attorneys’ Fees

Qualified Settlement Fund. In fact, Co-Lead Class Counsel has acknowledged that they can be,11

and that conclusion is supported by ample authority, see, e.g., In re Ikon Office Sols., Inc. Sec.

Litig., 194 F.R.D. 166, 197 (E.D. Pa. 2000) (awarding objectors’ fees paid from class counsel’s

award).

          Mitnick claims the “qualifications of MoloLamken and/or its attorneys”; the “novel

arguments . . . presented by MoloLamken”; the “expert witnesses . . . developed by Molo-

Lamken”; the “voluminous submissions prepared by MoloLamken”; the “numerous hours spent

by associates and partners of MoloLamken in preparing for and attending hearings, drafting

briefs, performing discovery, attempting to independently negotiate a settlement with the NFL[,]

and otherwise planning their strategies relating to this class action”; and MoloLamken’s 100%

contingent-fee engagement “matter little” or are “irrelevant.”12          In fact, this Circuit’s

Gunter/Prudential analysis calls for a district court to consider “the skill and efficiency of the


10
  Compare Dkt. 7261 at 6-7, with Dkt. 7070-1 at 5-20, 32-39 (Faneca Objectors’ fee petition);
Dkts. 7366-1, 7550-1 (supporting expert declarations).
11
     Compare Dkt. 7261 at 7, with Dkt. 7151-1 at 59 (Co-Lead Class Counsel’s fee petition).
12
     Dkt. 7261 at 14, 16.

                                                  4
           Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 5 of 7



attorneys,” “the complexity and duration of the litigation,” “the risk of nonpayment,” “the

amount of time devoted to the case by . . . counsel,” and “any innovative terms of the

settlement.” In re Diet Drugs Prods. Liab. Litig., 582 F.3d 524, 541 (3d Cir. 2009).

          Mitnick claims the Faneca Objectors’ appeal to the Third Circuit was “fruitless” and

“meritless,” accusing them of “blindly insist[ing] to move forward with their appeals.”13 But the

procedure for dealing with an obviously meritless or frivolous appeal is summary dismissal, see

3d Cir. R. 27.4, or summary decision without oral argument, see 3d Cir. R. 34.1(a). The Third

Circuit did not do that. Instead, it heard over one hour of argument and issued a thorough,

seventy-page opinion noting the Faneca Objectors were “well-intentioned” and made “thoughtful

arguments” that “aim[ed] to ensure that the claims of retired players are not given up in exchange

for anything less than a generous settlement agreement negotiated by very able representatives.”

In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410, 447 (3d Cir. 2016).

                                           CONCLUSION

          The actual law and facts – as set forth in detail in the Faneca Objectors’ filings – support

the requested fee award.




13
     See Dkt. 7621 at 5, 14.

                                                   5
        Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 6 of 7



Dated: May 18, 2017                              Respectfully Submitted,

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                                            6
        Case 2:12-md-02323-AB Document 7708 Filed 05/18/17 Page 7 of 7



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2017, I caused the foregoing Faneca Objectors’ Further

Reply in Support of Their Petition for an Award of Attorneys’ Fees and Expenses to be filed

with the United States District Court for the Eastern District of Pennsylvania via the Court’s

CM/ECF system, which will provide electronic notice to all counsel and parties.

                                                                  /s/ Steven F. Molo
